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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,
                                                       Civil Action No. 3: 17-cv-00072-NKM
                      Plaintiffs,
  v.

  JASON KESSLER, et al.,

                      Defendants.

    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO DE-DESIGNATE
      CERTAIN DOCUMENTS DESIGNATED AS CONFIDENTIAL OR HIGHLY
                           CONFIDENTIAL

        WHEREAS, on October 12, 2021, Plaintiffs filed a Motion to De-Designate Certain

 Documents Designated as Confidential or Highly Confidential (“Motion”) seeking to de-designate

 the documents listed in Appendix A to the Motion, which had been designated by certain

 Defendants as Confidential or Highly Confidential under the Order for the Production of

 Documents and Exchange of Confidential Information entered on January 3, 2018 (ECF No. 167).

        WHEREAS, the Court finds the documents at issue do not warrant these designations.

        IT IS HEREBY ORDERED that the documents identified in Appendix A to Plaintiffs’

 Motion are not Confidential or Highly Confidential under the Court’s orders.
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                                  20360



       Dated: _______________________

       SO ORDERED




                                        __________________________________
                                        Hon. Joel C. Hoppe, M.J.




                                          2
